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                                                      UNITED STATES DISTRICT COURT
                                                       FOR THE DISTRICT OF KANSAS

                         MICHAEL T. KERN,                                )
                                                                         )
                                                   Plaintiffs,           )
                                                                         )
                         vs.                                             )
                                                                         )
                         CENTURA HEALTH CORPORATION                      )   Case No.
                         d/b/a ST. ROSE AMBULATORY &                     )
                         SURGERY CENTER; and KINDRED                     )
                         HEALTHCARE, INC.,                               )
                                                                         )
                                                   Defendant.            )
                                                                         )

                                                                 COMPLAINT

                               Plaintiff MICHAEL T. KERN alleges and states as follows:

                                                           GENERAL ALLEGATIONS

                               1.      Plaintiff MICHAEL T. KERN resides in Ellinwood, Barton County, Kansas. He

                        is a resident of Kansas.

                               2.      Defendant CENTURA HEALTH CORPORATION d/b/a ST. ROSE

HUTTON                  AMBULATORY & SURGERY CENTER (hereinafter "Centura") is a Colorado corporation.
& HUTTON

Tallgrass Exec. Park
                        It is authorized to and does conduct business in the State of Kansas, including doing business as
8100 E. 22nd Street
N.                      ST. ROSE AMBULATORY & SURGERY CENTER, located in Great Bend, Barton County,
Building 1200
Wichita, Kansas
67226-2312              Kansas. CENTURA’s resident agent is Registered Agent Solutions, Inc., 2101 SW 21st Street,
Mailing Address:
P.O. Box 638            Topeka, KS 66604. Defendant CENTURA may be served through its resident agent.
Wichita, Kansas
67201-0638
                               3.      At all times material, defendant CENTURA had its employ, or subject to its
(316) 688-1166
(316) 686-1077 (fax)
www.huttonlaw.com       control, direction and supervision of health care personnel, and other staff, including physical

                        therapists and physical therapist assistants. The negligence of such employees and agents is

                        likewise the negligence of defendant CENTURA, thus making defendant CENTURA liable
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                        under respondeat superior for the negligent acts and omissions of its employees and agents done

                        within the scope of their employment and agency.

                                4.      Defendant KINDRED HEALTHCARE, INC. (hereinafter "Kindred") is a

                        Kentucky corporation. At all times material hereto, it was authorized to and did conduct business

                        in the State of Kansas. KINDRED’s registered agent is C T Corporation System, 306 W. Main

                        Street, Suite 512, Frankfort, KY 40601. Defendant KINDRED may be served through its

                        registered agent.

                                5.      At all times material, defendant KINDRED had its employ, or subject to its

                        control, direction and supervision, health care personnel, and other staff, including physical

                        therapists and physical therapists assistants. The negligence of such employees and agents is

                        likewise the negligence of defendant KINDRED, thus making defendant KINDRED liable under

                        respondeat superior for the negligent acts and omissions of its employees and agents done within

                        the scope of their employment and agency.

                                6.      Pursuant to the notice provisions of K.S.A. 40-3409, copy of this Complaint has

                        been mailed by Certified U.S. Mail to Rita L. Noll, Attorney for the Board of Governors, Kansas
HUTTON
& HUTTON
                        Health Care Stabilization Fund, 300 S.W. 8th Street, 2nd Floor, Topeka, Kansas 66603. The

Tallgrass Exec. Park    original return receipt to be filed of record.
8100 E. 22nd Street
N.
Building 1200                   7.      The matter in controversy exceeds the sum of seventy-five thousand dollars
Wichita, Kansas
67226-2312
                        ($75,000), exclusive of interest and costs.
Mailing Address:
P.O. Box 638
Wichita, Kansas
                                8.      Jurisdiction of this Court is based on 28 USC 1332(a).
67201-0638
                                9.      The Court has proper venue pursuant to 28 USC 1391.
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(316) 686-1077 (fax)
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                                                         STATEMENT OF FACTS

                               Plaintiff hereby adopts by reference paragraphs one through nine (1-9) and, in addition,

                        states and alleges:

                               10.     Plaintiff Kern is a 54 year-old married, insulin dependant diabetic who underwent

                        a total knee replacement on November 7, 2012.

                               11.     On November 12, 2012, Mr. Kern began receiving outpatient physical therapy

                        treatment at St. Rose Ambulatory & Surgery Center following the knee operation.

                               12.     Part of his physical therapy regimen included the use of an Interferential Current

                        Therapy (IFC) machine that produces electrical currents, which pass through electrodes that are

                        placed on the patient, providing electrical stimulation. This is also known as ESTIM therapy.

                               13.     On November 28, 2012, while undergoing an IFC treatment at St. Rose

                        Ambulatory & Surgery Center, Mr. Kern notified the physical therapy assistant (PTA), Kristin

                        Teel, that one of the electrodes was burning his leg.

                               14.     The medical records indicate the PTA stopped the treatment, removed the

HUTTON                  electrode, and noted a burn beneath the electrode.
& HUTTON
                               15.     The IFC machine at issue is owned by defendant Centura.
Tallgrass Exec. Park
8100 E. 22nd Street
N.                             16.     The PTA, Kristin Teel, is an employee of defendant Kindred Healthcare, Inc. and
Building 1200
Wichita, Kansas
67226-2312              an actual or ostensible agent of Centura, d/b/a St. Rose Ambulatory & Surgery Center.
Mailing Address:
P.O. Box 638
                               17.     On the afternoon of November 28, 2012, Mr. Kern presented to his family practice
Wichita, Kansas
67201-0638              physician to have the burn examined. The physical examination revealed a 1 ½ by ½ inch high
(316) 688-1166
(316) 686-1077 (fax)    ulcerated area with surrounding erythema. A progress note dictated the following day noted
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                        “second to third degree burns from the ESTIM therapy.”


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                               18.       Mr. Kern again presented to his family practice physician on December 3, 2012,

                        because the burn was not healing. The progress note states that “today it’s looking really worse

                        and not getting any better and starting to get red and kind of painful. . . . Exam of his leg shows

                        that the burn on the lateral side of the leg has grown in size. It’s about 1.5 inches, but it has

                        surrounding erythema, kind of warm to touch and not doing as well as it was. Then the same

                        goes with the right medial aspect. It’s erythematous and getting kind of an infective look about

                        it.”

                               19.       On December 6, 2012, when the wound was still not healing, his family practice

                        physician prescribed IV Vancomycin, an antibiotic frequently used to treat bacterial infections.

                               20.       The burn continued to cause Mr. Kern problems through the remainder of the year.

                        His records indicate he saw his family practice physician on December 6, 10, 14, 17, and 26,

                        2012, for treatment of his burn.

                               21.       On January 2, 2013, five weeks after being burned, his family practice physician

                        sent Mr. Kern to a surgeon for wound care “because he is a diabetic and because it’s not healing.”

HUTTON                         22.       On January 8, 2013, Mr. Kern saw a burn specialist who recommended continued,
& HUTTON
                        daily dressing changes.
Tallgrass Exec. Park
8100 E. 22nd Street
N.                             23.       The records indicate Mr. Kern was treated for wound washing and dressing
Building 1200
Wichita, Kansas
67226-2312              changes up through January 25, 2013, nearly two months after being burned.
Mailing Address:
P.O. Box 638
                               24.       Mr. Kern has experienced a prolonged and difficult course of recovery since
Wichita, Kansas
67201-0638              suffering his burn, as well as physical and emotional injuries and permanent scarring and
(316) 688-1166
(316) 686-1077 (fax)    disfigurement.
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                                                               FIRST CLAIM
                                                   Medical Negligence of Defendant Centura

                                Plaintiff incorporates herein each and every allegation in paragraphs one through twenty-

                        four (1-24) above and, in addition, alleges and states:

                                25.     At all times material, defendant CENTURA had its employ, or subject to its

                        control, direction and supervision of health care personnel, and other staff, including physical

                        therapists and physical therapist assistants. The negligence of such employees and/or actual or

                        ostensible agents is likewise the negligence of defendant CENTURA, thus making defendant

                        CENTURA liable under respondeat superior for the negligent acts and omissions of its

                        employees and agents done within the scope of their employment and agency.

                                26.     In addition to the allegations set forth above, defendant Centura was negligent in

                        the following areas:

                                        a.      Failing to properly maintain, repair and/or set safe power
                                                limitations and intensity levels on the IFC machine used on Mr.
                                                Kern; and

                                        b.      Failing to provide a safe and operational IFC machine for the
HUTTON                                          treatment of its patients.
& HUTTON
                                27.     Defendant Centura was otherwise negligent in its treatment of plaintiff and as a
Tallgrass Exec. Park
8100 E. 22nd Street
N.                      direct result of its negligence, plaintiff sustained burn injuries to his left leg.
Building 1200
Wichita, Kansas
67226-2312                      WHEREFORE, plaintiff Michael T. Kern prays for damages against defendant
Mailing Address:
P.O. Box 638
                        CENTURA in an amount in excess of seventy-five thousand dollars ($75,000.00), together with
Wichita, Kansas
67201-0638              costs incurred herein and any other relief the Court deems just and equitable.
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(316) 686-1077 (fax)
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                                                             SECOND CLAIM
                                                   Medical Negligence of Defendant Kindred

                                Plaintiff incorporates herein each and every allegation in paragraphs one through twenty-

                        seven (1-27) above and, in addition, alleges and states:

                                28.     At all relevant times, PTA Kristin Teel, was an agent and/or employee of

                        defendant Kindred, and was acting within the scope of her agency or employment with defendant

                        Kindred, thereby causing defendant Kindred to be vicariously liable to plaintiff for all acts and

                        negligence of Kristin Teel, including causing a burn to Mr. Kern’s leg, and all damages resulting

                        therefrom.

                                29.     In addition to the allegations set forth above, defendant Kindred was negligent in

                        exercising ordinary care. Its negligence included, but was not limited to:

                                        a.      Failing to properly train and supervise Kristin Teel in the safe
                                                operation of the pertinent IFC machine; and

                                        b.      Failing to establish proper procedures, protocols or rules for the
                                                monitoring of IFC treatment to ensure the safe delivery of
                                                electrical stimulation.

HUTTON                          30.     Defendant Kindred was otherwise negligent in its treatment of plaintiff and as a
& HUTTON
                        direct result of its negligence, plaintiff sustained burn injuries to his left leg.
Tallgrass Exec. Park
8100 E. 22nd Street
N.                              WHEREFORE, plaintiff Michael T. Kern prays for damages against defendant Kindred
Building 1200
Wichita, Kansas
67226-2312              in an amount in excess of seventy-five thousand dollars ($75,000.00), together with costs
Mailing Address:
P.O. Box 638
                        incurred herein and any other relief the Court deems just and equitable.
Wichita, Kansas
67201-0638                                                       THIRD CLAIM
(316) 688-1166                                                  Loss of Consortium
(316) 686-1077 (fax)
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                                Plaintiff adopts by reference paragraphs one through thirty (1-30) and, in addition, states:



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                               31.     Shelly Dawn Kern is the wife of Michael Kern.

                               32.     As a direct result of the injuries and damages of plaintiff Kern, Shelly Dawn Kern

                        has sustained damages for, but not limited to, loss of society, companionship and comfort, loss

                        of marital care, attention, advice and counsel, and other pecuniary damages.

                               33.     Shelly Dawn Kern’s losses are vested in plaintiff Kern.

                               34.     As a further result of Shelly Dawn Kern’s losses, plaintiff Kern has sustained

                        damages in excess of Seventy Five Thousand Dollars ($75,000.00).

                               WHEREFORE, plaintiff renews his prayer for damages against the defendants in an

                        amount in excess of seventy-five thousand dollars ($75,000.00), together with his costs incurred

                        herein and any other relief the Court deems just and equitable.

                                                       DEMAND FOR JURY TRIAL

                               Plaintiff demands a trial by jury.

                                                 DESIGNATION OF PLACE OF TRIAL

                               Plaintiff designates the location of the trial of this matter be Wichita, Kansas.

HUTTON                                                                        Respectfully submitted,
& HUTTON
                                                                              HUTTON & HUTTON
Tallgrass Exec. Park
8100 E. 22nd Street
N.
Building 1200                                                                 s:/Daniel K. Back
Wichita, Kansas
67226-2312                                                                    Anne M. Hull, #14436
                                                                              Daniel K. Back, #23192
Mailing Address:
P.O. Box 638
                                                                              8100 E. 22nd Street North, Bldg. 1200
Wichita, Kansas                                                               Wichita, KS 67226
67201-0638                                                                    Phone: (316) 688-1166
(316) 688-1166                                                                Fax: (316) 686-1077
(316) 686-1077 (fax)                                                          E-mail: daniel.back@huttonlaw.com
www.huttonlaw.com

                                                                              Attorneys for Plaintiff


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